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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION


ANGELA MALCICH,                           )
                                          )
      Plaintiff,                          )
                                          )
v.                                        )     No. 4:20-CV-01030-AGF
                                          )
ST. LOUIS COUNTY,                         )
et al.,                                   )
                                          )
      Defendants.                         )

                      JUDGMENT AND ORDER APPROVING
                       WRONGFUL DEATH SETTLEMENTS

      Plaintiff Angela Malcich, the surviving mother of decedent Daniel Stout and

representative of the wrongful death class (“Plaintiff”), appears by and through her

attorneys. Defendants St. Louis County, Alexis Woods, Michelle Wright-Berry, Brian

Mitchell, and Nathaniel Mellenthin (the “County Defendants”) appear by and through

their attorneys. Defendant Troy Doyle appeared through his attorney. Connie Heitman,

Janet Duwe, and Robert Adams (the “Nurse Defendants”) appear by and through their

attorneys.

      All parties having expressly waived a jury trial in regard to Plaintiff’s claim

against all defendants, the cause is submitted to the Court, and evidence in support of the

Joint Application for Approval of Wrongful Death Settlements has been heard. After duly

examining the pleadings and hearing the statements of counsel, testimony of Plaintiff as
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and the evidence submitted and being otherwise fully advised on the premises, the Court

finds:

         1.   Plaintiff is the natural mother of the decedent and therefore entitled to sue

for and recover damages as permitted under Mo. Rev. Stat. § 537.080.

         2.   The decedent’s father is deceased. Additionally, the decedent left no

surviving spouse or children. He therefore left no surviving lineal descendants of any

deceased children, natural or adopted.

         3.   As such, Plaintiff is the only party entitled to sue for and recover damages

in this matter. See Mo. Rev. Stat. § 537.080(1). The Court finds no other party need be

joined or notified of this wrongful death settlement. See Mo. Rev. Stat. § 537.095.

         4.   Plaintiff initially filed her complaint on June 11, 2020 in the Circuit Court

of St. Louis County, Missouri; St. Louis County removed the case to this Court on

August 6, 2020. (Doc. No. 1). Plaintiff filed her first amended complaint on December

11, 2020 and her second amended complaint on June 15, 2020. (Doc. Nos. 20 and 136).

Plaintiff alleged six counts: (i) Eighth and Fourteenth Amendment Violation for

Deprivation of Medical Care; (ii) Municipal Custom and/or Failure to Instruct, Train,

Supervise, Control and/or Discipline; (iii) Civil Conspiracy; (iv) Negligence per se; (v)

Wrongful Death; and (vi) Violations of the Missouri Sunshine Law. (Doc. No. 136).

         5.   Plaintiff has entered into agreements with all defendants compromising and

settling any and all claims and causes of action as to all defendants subject to Court

approval as permitted and required by Mo. Rev. Stat. § 537.095.




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       6.     The total amount of the proposed settlement of all claims against all

defendants is $1.2 million. St. Louis County will pay the total amount of $650,000. The

Nurse Defendants will together pay the total amount of $550,000.

       7.     Plaintiff proposed allocating the net proceeds of the proposed settlement

entirely to herself, as she is the only member of the class described in Mo. Rev. Stat. §

537.080(1).

       8.     The Court has reviewed copy of the releases between Plaintiff and St. Louis

County and between Plaintiff and the Nurse Defendants, including the terms thereof and

the associated financial distribution. See (Doc. No. 192). The Court expressly approves

thereof.

       9.     The Court finds that Plaintiff’s motion is made in good faith, is fair, and is

reasonable, and that it should be granted.

       10.    The Court finds that the proposed settlement agreements as to St. Louis

County and the Nurse Defendants are fair and reasonable. The Court approves the

aforesaid terms and conditions of the settlement. The total amount of the settlement and

distribution thereof is approved as set forth in Plaintiff’s motion.

       11.    Plaintiff has retained the services of Pleban & Associates and has entered

into a contract for attorneys’ fees in this matter.

       12.    The Court has reviewed the fees and expenses associated with said

representation and finds that the designated apportionment is fair and reasonable. The

Court expressly approves the designated apportionment.




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IT IS THEREFORE ORDERED, ADJUDGED AND DECREED BY THE COURT:

       13.    Plaintiff’s motion to approve wrongful death settlement, (Doc. No. 191), is

granted.

       14.    The Court approves the proposed settlement in the amount to of $1.2

million, with St. Louis County responsible for payment to Plaintiff in the amount of

$650,000.00, and the Nurse Defendants responsible collectively for payment to Plaintiff

in the amount of $550,000.00.

       15.    All parties are to bear their own court costs, attorneys’ fees, and expenses.

       16.    St. Louis County and the Nurse Defendants shall make, or cause to be

made, the payments as set forth above.

       17.    Plaintiff is ordered to deduct and pay attorneys’ fees and costs from the

proceeds of the settlement. Attorneys’ fees and expenses in the total of $569,233.86, as

set forth in (Doc. No. 191), are to be paid by Plaintiff to Pleban & Associates, LLC, out

of the total settlement sum.

       18.    Plaintiff is directed to retain the net proceeds of the settlement as Plaintiff is

the only member of the class of persons described in Mo. Rev. Stat. § 537.080(1). She is

therefore the only person entitled to the proceeds of the settlement.

       19.    Upon payment and receipt of the settlement proceeds, Plaintiff’s case shall

be dismissed with prejudice, with each party to bear its own costs and attorneys’ fees.

Plaintiff shall file a Receipt and Satisfaction of Judgment along with her dismissal.




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       20.    Defendants are directed to present settlement drafts to Plaintiff’s counsel on

or before September 28, 2022.

       21.    No later than October 14, 2022, the parties must complete all distributions,

dismissals, court filings, or other required procedures set forth above or addressed at the

September 7, 2022 hearing.

       22.    The trial setting and all current deadlines are vacated as moot.

                                                         SO ORDERED:


                                                      __________________________________
                                                                    AUDREY G. FLEISSIG
                                                        UNITED STATES DISTRICT JUDGE
Dated this 8th day of September, 2022




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